 

Case 1:18-cv-01498-RC Document 11-2 Filed 10/29/18 Page 1 of 3

 

 

 

 
 

 

 

 

 

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Case 1:18-cv-01498-RC Document 11-2 Filed 10/29/18 Page 2 of 3

 

 
 

 

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